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USDCNH-96 (Rev. 7/14) Appearance of Counsel


                                    UNITED STATES DISTRICT COURT
                                                           for the
                                                District of New Hampshire


  Scottsdale Capital Advisors Corp. and John Hurry            )
                            Plaintiff                         )
                               v.                             )      Case No.     1:16-cv-00545
          The Deal, LLC and William Meagher                   )
                           Defendant                          )

                                              APPEARANCE OF COUNSEL

To:      The clerk of court and all parties of record

         I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Scottsdale Capital Advisors Corp. and John Hurry                                                               .


Date:         01/06/2017                                                           /s/ Christopher D. Hawkins
                                                                                        Attorney’s signature


                                                                          Christopher D. Hawkins, Esq., Bar No. 10005
                                                                                    Printed name and bar number

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                 Case 1:16-cv-00545-JL Document 10 Filed 01/06/17 Page 2 of 2



                                           CERTIFICATE OF SERVICE

I hereby certify that this Appearance was served on the following persons on this date and in the manner
specified herein:

Electronically Served Through ECF:
Steven M. Gordon, Esq.; Elizabeth A. McNamara, Esq.; John M. Browning, Esq.



Conventionally Served:




         01/06/2017                                                      /s/ Christopher D. Hawkins
Date                                                       Signature




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